          Case 2:19-mj-01037-DUTY Document 2 Filed 03/14/19 Page 1 of 1 Page ID #:21




                                          UNITED STATES DISTRICT COURT
                                      CENTRAL DISTRICT OF CALIFORNIA

                                                              CASE NUMBER:
UNITED STATES OF AMERICA
                                                  PLAINTIFF          ~ 9     ~ O
                  V.
                                                                     REPORT COMM~NCIIV~F
                                                                                 :
                                                                                 .   ~ x-
                                                                                          C~MINAL
                                                                                     A~TIOI'~a
USMS#    ~~              ~~~ ~h~~DEFENDANT                                                 ~x
                                                                                          ~ ~~
                                                                                          c,';i,
TO: CLERK'S OFFICE, U.S. DISTRICT COURT                                                  _ ;-, ~
                                                                                        .~- ~`.
All areas must be completed. Any area not applicable or unknown should indicate "N/A~'.      T
                                                                                             -r ~
                                                                                               .-a


 1 • Date and time of arrest:     ~.(~,pr~ ~3 ~~ ~                               AM      PM
                                                                                          ' .~
                                                                                               .~:
2. The above named defendant is currently hospitalized and cannot be transported to court for arraignment or
    any other preliminary proceeding: [Yes           ❑ No

3. Defendant is in U.S. Marshals Service lock-up (in this court building):   [Yes       ❑ No

4. Charges under which defendant has been booked:



5. Offense charged is a:         Felony      ❑Minor Offense        ❑ Petty Offense      ❑Other Misdemeanor

6. Interpreter Required:        ~No   ❑Yes        Language:

7• Year of Birth:       ~q J
                           r~p

8. Defendant has retained counsel:         ~,No
    ❑ Yes        Name:                                               Phone Number:


9• Name of Pretrial Services Officer notified:          ~-~ ~,,~~ C,~,~~{.~,

10. Remarks (if any):


11. Name:        ~~,CC. TSt~ti,he-.NL`~                 (please print)

12. Office Phone Number:         3 ~~ ~ ~~ ~C~(2                         13. Agency:    `~ g 1

14. Signature:      ~j~t~..s- ~~-                                        15. Date:     ,3 l ~ ~ ~ ~.°~


CR-64(05/18)                               REPORT COMMENCING CRIMINAL ACTION
